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UNITED STATES DISTRICT COURT
For the
Western District of Oklahoma

QUILL INK BOOKS LIMITED, a
foreign corporation,

Plaintiff
Civil Action No. CIV-18-00920-G

V.

ABCD GRAPHICS AND DESIGN, D/B/A
Blushing Books, et al.

Defendant

DEFENDANT’S RESPONSES TO PLAINTIFF’S THIRD SET OF DISCOVERY
REQUESTS

Defendant ABCD Graphics and Design (“Defendant”) submits the following responses
pursuant to FRCP 33, 34, and 36.

RESPONSES TO INTERROGATORIES
INTERROGATORY NO. 1: Identify the person who created any comparison of the
Myth of Omega and Alpha’s Claim series upon which you relied in filing the DMCA
notice(s) against the Myth of Omega series of books.

RESPONSE TO INTERROGATORY NO. 1: The comparison was provided to

 

Defendant by Rachelle Soto as email attachment spreadsheets. No other individual
creating a comparison prior to the filing of DMCA notices is known to Defendant.
Regarding the spreadsheet, entitled “Crave to Conquer Paraphrasing,” Soto does not
identify an author and only states that it was prepared by a “good friend.” In an email
chain which runs from April 15" through April 30", 2018, two separate copies are

provided to Defendant. In spite of having the same title, the spreadsheets (from April
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19" and then from April 24" — sent only to Allison Travis) the second spreadsheet is
slightly different. In addition, Soto provides a plot / story arc comparison directly in
email which differs slightly from the information on the spreadsheets. She states that she
“typed it out” and does not identify a source for her information.

INTERROGATORY NO. 2: Identify the person who contacted Draft2Digital LLC in

 

Oklahoma following the filing of the DMCA notices against the Myth of Omega series of

books.

RESPONSE TO INTERROGATORY NO. 2: Defendant has never contacted,

 

communicated with, spoken to, or received any emails from anyone at Draft 2 Digital,
LLC in Oklahoma. Plaintiff has insisted that Defendant has communicated with Draft 2
Digital. This is not true.

INTERROGATORY NO. 3: Identify any policy of insurance coverage possessed by

 

you that may provide coverage for Quill Ink’s claims against you.

RESPONSE TO INTERROGATORY NO. 3: None. Defendant has no insurance

 

policies.

INTERROGATORY NO. 4: Identify any and all assets possessed by you capable of
satisfying a judgment against you with respect to Quill Ink’s claims against you.
satisfying a judgment against the. Defendant has about 10,000 in equity in their building

against 120,000 in debt. In addition, the business has legal debt in excess of 50,000.
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INTERROGATORY NO. 5: Identify the income you have earned from sales of the

 

Alpha’s Claim series.

RESPONSE TO INTERROGATORY NO. 5: Defendant’s gross receipts for the Alpha’s
Claim series are approximately $370,000. After initial production costs, which
Defendant calculates at $1500 per titles ($6000.), payment of royalties to Soto
(approximately $185,000), legal costs in excess of $100,000, and their advertising
expense (25,000 to 30,000), Defendant’s net revenue on this series is less than $50,000.

INTERROGATORY NO. 6: Identify who you contacted or communicated with

 

regarding the filing of the DMCA notices against the Myth of Omega series of books.

RESPONSE TO INTERROGATORY NO. 6: Defendant CEO and Allison Travis

 

contacted and communicated regarding filing the DMCA notices with each other, with
Rachelle Soto, and with staff members Michael Godsey and contract editor Sabrina
Wohlers. Defendant CEO sent an email to Zuri Amarcya on 5/29 communication
concerning the DMCA notices. Defendant also communicated with Attorney Margarita
Coale in response to the Cease and Desist Attorney Coale sent for Zuri Amarcya/ Zoey
Ellis on May 25, 2018.

INTERROGATORY NO. 7: Identify the income you have earned from any work
published by you that involves Omegaverse themes.

RESPONSE TO INTERROGATORY NO. 7: Defendant’s gross revenue for all
Omegaverse titles is approximately $422,000. After production costs, ($10,000) payment

of royalties (approximately $211,000) and advertising expense ($40,000), Defendant’s

net revenue on titles with Omegaverse themes is $160,000. Defendant has paid
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approximately $100,000 in legal fees related to this lawsuit, and owes approximately
$50,000 more.

INTERROGATORY NO. 8: Identify any policy of insurance for director or officer
liability that in any way relates to the operations of Blushing Books.

RESPONSE TO INTERROGATORY NO. 8: Blushing Books is an imprint of ABCD

 

Graphics and Design. Defendant has no insurance policies for directors or officers.

INTERROGATORY NO. 9: Identify all officers and/or directors of Blushing Books,

 

including their addresses.

RESPONSE TO INTERROGATORY NO. 9: Anne Wills is the only owner and officer

 

of ABCD Graphics and Design. She can be reached via the corporate address of 977
Seminole Trail #233, Charlottesville, VA 22901.

INTERROGATORY NO. 10: Identify who you contacted at Draft2Digital, L.L.C. in

 

Oklahoma.

RESPONSE TO INTERROGATORY NO. 10: No officer, director or employee, or

 

anyone acting on the behalf of Defendant has ever spoken to anyone at Draft2Digital,

L.L.C in Oklahoma.

INTERROGATORY NO. 11: Identify who Rachelle Soto a/k/a Addison Cain (Cain)

 

contacted at Draft2Digital, L.L.C. in Oklahoma.

RESPONSE TO INTERROGATORY NO. 11:

 

Defendant has no knowledge of Rachelle Soto’s contacting Draft2Digital.
INTERROGATORY NO. 12: Identify anyone who you discussed the DMCA notices

with, not including legal counsel.
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RESPONSE TO INTERROGATORY NO. 12:

Defendant CEO and Allison Travis discussed the DMCA notices with each other, with
Rachelle Soto, and with employee Michael Godsey and contractor Sabrina Wohlers.
Defendant CEO sent an email to Zuri Amarcya on 5/29 discussing the DMCA notices.
Defendant also discussed via email the issue with Margarita Coale in response to the
Cease and Desist she sent for Zuri Amarcya/ Zoey Ellis on May 25, 2018. After lawsuit
was filed in October 2018 and Plaintiff-sponsored website was publicized publicly,
general outlines of the case were shared with editors and other contracted staff of
Defendant.

INTERROGATORY NO. 13: Identify any and all telephone calls, including the date
where you contacted Cane within three (3) months of filing of the DMCA notices until
you were served with the instant lawsuit.

RESPONSE TO INTERROGATORY NO. 13: Defendant CEO and Allison Travis may
have spoken to Rachelle Soto via Defendant’s Uberconference system. However, the
Uberconference system does not retain records of participants in calls if participants were
invited based on email address and/or called in using computers (instead of phone), so no

records exist.

INTERROGATORY NO. 14: Identify any online groups operated by Cain.

 

RESPONSE TO INTERROGATORY NO. 14:
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According to public Facebook listings, Cain operates the following groups:

1) Addison Cain’s Dark Longings Lounge — Defendant employee Allison Travis is a
member of this group.

2) Addison Cain’s Vegas Trip Attendees

3) Cain has an Omegaverse group entitled Omegaverse Readers Unite.
INTERROGATORY NO. 15: Identify all members of any online group in which you
share membership with Cain.

RESPONSE TO INTERROGATORY NO. 15:

Defendant’s CEO and other employees are in no online groups with Cain. Defendant
employee Allison Travis is a member of Addison Cain’s Dark Longings Lounge.

INTERROGATORY NO. 16: Identify who was responsible for creating the GoFundMe

 

campaign for Cane with respect to the claims against you and her for filing the false
DMCA notices.

RESPONSE TO INTERROGATORY NO. 16:

 

No one at Defendant’s company was involved in the creation of the GoFundMe
Campaign in any way. The GoFundMe campaign was not created for legal claims against
Defendant. Defendant has never received funds from this campaign. Publicly, the creator
was identified as Jennifer Bene, and this is the limit of information. Whether anyone else
was involved, Defendant has no knowledge.

INTERROGATORY NO. 17: Identify all employees of Blushing Books, including their

address.
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RESPONSE TO INTERROGATORY NO. 17:
Blushing Books is an imprint of ABCD Graphics and Design and has no employees.
Defendant ABCD Graphics and Design’s employees are:

Allison Travis, Michael Godsey, Kimberly Mina, as well as Anne Wills. All can be
contacted via ABCD Graphics and Design’s corporate address at: 977 Seminole Trail

#233, Charlottesville , VA 22901.

INTERROGATORY NO. 18: Identify who is responsible for managing or accounting

 

for Blushing Books’ finances.

RESPONSE TO INTERROGATORY NO. 18:

Blushing Books is an imprint of ABCD Graphics and Design and has no accounting or
finances. Defendant ABCD Graphics and Design’s accounting is managed by Defendant
CEO Anne Wills. Allison Travis and Michael Godsey manage the quarterly accounting
process by which the authors’ royalty statements are generated. In addition, a CPA firm
prepares Defendant’s yearly tax returns and manages their payroll filings.

INTERROGATORY NO. 19: Identify all bank accounts used by Blushing Books.

 

RESPONSE TO INTERROGATORY NO. 19:

Blushing Books is an imprint of ABCD Graphics and Design and has no bank accounts.
Defendant ABCD Graphics and Design’s has two bank accounts. They are both at Bank
of America, both operating under the same EIN, and they are both checking accounts.
INTERROGATORY NO. 20: Identify the email service used by Blushing Books.
RESPONSE TO INTERROGATORY NO. 20:

Blushingbooks.com is managed by Google gmail.
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INTERROGATORY NO. 21: Identify the location of any messages or files relating to the
DMCA notices filed against the "Zoey Ellis" brand of books.
RESPONSE TO INTERROGATORY NO. 21:
All emails messages are served within gmail. All files are contained within Defendant’s
Dropbox service.
INTERROGATORY NO. 22: Identify any forum where Cain published comments about
the “Zoey Ellis” brand of books.
RESPONSE TO INTERROGATORY NO. 22:
To the best of Defendant’s knowledge, Rachelle Soto published comments on her own
website and on Facebook. Defendant has no knowledge of any posting Soto may have
made to private groups or to private individuals.
INTERROGATORY NO. 23: Identify what resources you claim to have used to estimate
the damage caused by the filing of the DMCA notices against the "Zoey Ellis" brand of
books.
RESPONSE TO INTERROGATORY NO. 23:

Defendant does not believe that the filing of the DMCA notices caused any
damage to the “Zoey Ellis” brand of books, or Plaintiff Quill.

Defendant has published many books over the last twenty years and can estimate
what the revenue would have been on Barnes & Noble, Apple and Kobo during the
approximately two month period the books were under review (and thus unavailable) on

those sites, using a variety of means.
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First, sales on these sites is a consistent and predictable percentage of Amazon
sales. Furthermore, Amazon sales ranks are a highly predictive indicator of sales. As the
titles were never removed from Amazon, the vendor responsible for typically 85% or
more of revenue, the impact of the removal of these books is minimal. During the time
of the review process of the infringing titles in question, the Zoey Ellis titles were ranked
on Amazon far less favorably than many of Blushing Books’ Publications, and
comparable income numbers are available for those titles; thus, very accurate
conclusions can be drawn that the Ellis titles made less money than those titles.

Defendant ran comparisons to multiple of Defendant’s titles on Amazon, Barnes
and Noble, and Apple. During the same time period the infringing titles were under
review (Second Quarter of 2018), Barnes & Noble, Apple, and Kobo sales combined on
the top books in Defendant’s catalog varied between 1% and 8% of the Amazon sales, for
the entire quarter. The TOP SELLING single author title for Defendant for Second
Quarter 2018 had gross revenue of around $500 for Apple, Barnes & Noble, and Kobo
for the entire Second Quarter. There is no reason to assume that Plaintiff's sales would

have a different pattern.

INTERROGATORY NO. 24: Identify any mobile electronic device used to communicate

with Cain regarding the "Zoey Ellis" brand of books.
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RESPONSE TO INTERROGATORY NO. 24: Defendant’s CEO’s cell phone (number

 

(434) 989-3635) through AT&T was used to communicate with Rachelle Soto.
INTERROGATORY NO. 25: Identify any online or electronic backup service used to
back up your electronic business assets.

RESPONSE TO INTERROGATORY NO. 25:

Defendant uses Dropbox backup service.

INTERROGATORY NO. 26: Identify all contracts or other receivables upon which
Blushing Books earns income which may be used to satisfy any judgment that may be
entered against Blushing Books in this lawsuit.

RESPONSE TO INTERROGATORY NO. 26:

Defendant CEO Anne Wills states that Defendant has approximately 3,000 active book
contracts with approximately 450 authors. The Defendant earns money after the books
sell. Defendant’s CEO states that there are no contracts that exist which guarantee any
money being paid to the company.

INTERROGATORY NO. 27: Identify any investment accounts used by Blushing Books
to fund its operations.

RESPONSE TO INTERROGATORY NO. 27:

Blushing Books is an imprint of Defendant ABCD Graphics and Design. Defendant has
no investment accounts.

INTERROGATORY NO. 28: Identify all physical assets held by Blushing Books which
may be used to satisfy any judgment that may be entered against Blushing Books in this

lawsuit.

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RESPONSE TO INTERROGATORY NO. 28:

 

Blushing Books is an imprint of Defendant ABCD Graphics and Design. Defendant
ABCD Graphics and Design has roughly $10,000 in equity in an office building, as well
as printers, computers and coffee makers, valued at less than $5000.

INTERROGATORY NO. 29: If you do not have any insurance coverage for Blushing

 

Books business activities, identify any other sources of funds that may be set aside for

payment of its liabilities.

RESPONSE TO INTERROGATORY NO. 29:

 

Defendant has no funds set aside for payments of liabilities. The only funds that may be
available to set aside for payment of any liabilities would be its ongoing corporate
revenue. If Defendant has an extensive liability payment imposed on it, Defendant will be
forced to file for bankruptcy.

INTERROGATORY NO. 30: State what you and Cain sought to gain through the filing
the DMCA notices against the "Zoey Ellis" brand of books published by Quill Ink.
RESPONSE TO INTERROGATORY NO. 30:

Defendant cannot speak for non-party Cain. Defendant neither sought to gain any
monetary or financial benefit from filing the DMCA notices, nor expected any.

Defendant in support of Author Soto’s wishes, and to satisfy the requests of Author Soto,

sought only to have the infringing titles removed from sale.

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REQUESTS FOR PRODUCTION

 

REQUEST FOR PRODUCTION NO. 1:
Produce the entirety of any and all drafts and final manuscripts for the Alpha’s Claim

series of books.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

 

Both the original (submitted) manuscript and the final edited version of these manuscripts
have already been provided in full. No additional drafts are available.

REQUEST FOR PRODUCTION NO. 2:

 

To the extent not already produced, produce any and all documents showing all sales,
income, and earnings for Cain’s Alpha’s Claim series (Born to be Bound, Born to be
Broken, Reborn, and Stolen).

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

 

Defendant receives no statements from vendors that are broken down by author. Rather,
all titles published are included on every statement. For each month, Defendant receives
eleven separate statements from Amazon alone, and each of the statements contain
countless lines of sales from other authors which would require redaction before the
statement could be shared with an outside party. Defendant has prepared a summary
spreadsheet of all quarters of sales since Author Soto began publishing with Defendant in
April of 2016. (Gross Receipts Alpha’s Claim).

REQUEST FOR PRODUCTION NO. 3:

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To the extent not already produced, produce any and all documents showing all sales,
income, and earnings for any other works by an author affiliated with Blushing Books
that is written in the Omegaverse style or genre.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

 

Objection—privileged, overly broad, unduly burdensome, and involves sensitive
third party information. Because Defendant does not have the authority to disclose
confidential personal and financial information regarding third parties, Defendant will
provide these documents for the court to review in camera and assess the relevance.
Plaintiff also can inquire directly of Witness Cain at trial on these topics.

Defendant receives no statements from vendors that are broken down by author.
Rather, all titles published are included on every statement. For each month, Defendant
receives eleven separate statements from Amazon alone, and each of the statements
contain countless lines of sales from other authors which would require redaction before
the statement could be shared with an outside party.

Defendant has prepared a summary spreadsheet of all quarters of sales for all titles
published by Defendant in the Omegaverse genre. (“Gross Receipts All Omegaverse”).
REQUEST FOR PRODUCTION NO. 4:

To the extent not already produced, produce any and all documents Blushing Books has
obtained about sales, income, and earnings for Quill Ink’s “Zoey Ellis” brand of books.
RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

Defendant has obtained no documents whatsoever concerning sales, income, and earnings

for Quill Ink’s “Zoey Ellis” brand of books.

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REQUEST FOR PRODUCTION NO. 5:

 

To the extent not already produced, produce financial statements for Blushing Books for

2018 and 2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

 

Defendant has provided 2018 Profit and Loss statements for ABCD Graphics and Design.
No financial statements for 2019 are available.

REQUEST FOR PRODUCTION NO. 6:

To the extent not already produced, produce all copies of any insurance policy in effect
for Blushing Books during 2018 and 2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

 

None. Defendant has no insurance policies whatsoever. Defendant purchased a small
office building in Farmville, Virginia in February of 2019 and holds standard property
insurance, as required by mortgage company.

REQUEST FOR PRODUCTION NO. 7:

To the extent not already produced, produce any and all communications sent to or
received from any person regarding sales, earnings for Quill Ink “Zoey Ellis” brand of
books.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

Defendant has received no communications sent or received from any person regarding

sales, income, and earnings for Quill Ink’s “Zoey Ellis” brand of books.

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REQUEST FOR PRODUCTION NO. 8:

To the extent not already produced, produce any and all documents showing
compensation whether direct, royalty or otherwise, paid to Cain for all pre-orders and
other sales of her Alpha's Claim series (Born to be Bound, Born to be Broken, Reborn,
and Stolen).

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

Objection—privileged material, and involves disclosure of sensitive third party
information. Because Defendant does not have the authority to disclose confidential
personal and financial information regarding third parties, Defendant will provide these
documents for the court to review in camera and assess the relevance. Plaintiff also can
inquire directly of Witness Cain at trial on these topics. A spreadsheet entitled “Royalties

to Cain” has been prepared.

REQUEST FOR PRODUCTION NO. 9:

 

To the extent not already produced, produce any and all documents, including
communications between Blushing Books and Cain, regarding or relating to the decision
to remove and subsequent removal of Cain’s publications from Blushing Books online

store.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

 

Objection—privileged and sensitive third party information. Under a confidential rights
reversion agreement, all rights for Cain’s publications have been returned to her.
Defendant had no communications with anyone other than counsel during the negotiation

process. Because Defendant does not have the authority to disclose confidential personal

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and financial information regarding third parties, Defendant will provide these documents
for the court to review in camera and assess the relevance. Plaintiff also can inquire
directly of Witness Cain at trial on these topics.

Produce a copy of your tax returns for 2018 and 2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

No tax return has been filed for 2019. Tax return for 2018 is in process and is not

available.

REQUEST FOR PRODUCTION NO. 11:

 

Produce a copy of any and all organizational documents, including operating agreements,

for Blushing Books.

RESPONSE TO REQUEST FOR PRODUCTION NO. LI:

 

Defendant has no organizational documents or operating agreements. Original corporate
documents for ABCD Graphics and Design were produced in 1999, Defendant CEO has
moved five times since October 1999, and original documents cannot be located.
REQUEST FOR PRODUCTION NO. 12:

Produce any public registration for your entity, including any state where you are
registered to do business.

RESPONSE TO REQUEST FOR PRODUCTION NO 12:

 

ABCD Graphics and Design Inc. is a Virginia corporation. Virginia SCC corporate

filing has been provided.

REQUEST FOR PRODUCTION NO. 13:

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Produce the ownership records for any and all shares of Blushing Books.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

 

Blushing Books is not a corporation and has no shares. Original corporate documents for
ABCD Graphics and Design were produced in 1999, Defendant CEO has moved five
times since October 1999, and original documents cannot be located.

REQUEST FOR PRODUCTION NO. 14:

Produce your detailed phone records beginning three (three) months before the filing of
the DMCA notices against the Zoe was brand of books up to the notice of the filing of
this lawsuit.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

ABCD Graphics and Design does not now and has never had a business phone. All
phone calls occur over the Uberconference conference system. A download of the dates

in question has been provided with the file name “Uber Call Log.”

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REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

 

Admit Blushing Books filed a false DMCA notice against the “Zoey Ellis” brand of
books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 1:

Denied. Defendant filed DMCA notices in good faith, believing that author Zuri Amarcya
a.k.a. Zoey Ellis’ titles infringed on Rachelle Soto a.k.a. Addison Cain’s Alpha’s Claim
series.

REQUEST FOR ADMISSION NO 2:

Admit Blushing Books conspired to defame the "Zoey Ellis" brand of books published by
Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 2:

 

Denied. Defendant collaborated with author Rachelle Soto a.k.a. Addison Cain in
producing an honest assessment of the similarities between Cain’s Alpha’s Claim series
and Ellis’s infringing Myth of Omega series.

REQUEST FOR ADMISSION NO. 3:

Admit Blushing Books acted against the “Zoey Ellis” brand of books published by Quill
Ink at the instructions of Cain.

RESPONSE TO REQUEST FOR ADMISSION NO. 3:

 

Admitted with stipulations. Cain was responsible for originally bringing the infringing
titles to Defendant’s attention, and provided the bulk of the research on which the DMCA

notices were filed. However, Defendant denies “acting against” the “Zoey Ellis” brand of

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books. Defendant collaborated with Cain in filing legitimate and researched DMCA
notices against infringing titles.

REQUEST FOR ADMISSION NO. 4:

Admit Cain participated in the filing of the false DMC A notices against the " the “Zoey
Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 4:

Denied. While Cain provided the information upon which the DMCA notices were
based, to the best of Defendant’s knowledge Cain believed that the Zoey Ellis brand of
books infringed on her titles.

REQUEST FOR ADMISSION NO. 5:

 

Admit the “Zoey Ellis” brand of books published by Quill Ink suffered damages because
of the filing of the false DMCA notices.

RESPONSE TO REQUEST FOR ADMISSION NO. 5:

Denied. Because the books were never removed from Amazon, the vendor responsible
for 85 — 90% of all sales, because sales on the secondary channels accounted for less than
10% of the sales of the Amazon channel, and because controversy often actually sells
books, there is no proof whatsoever that the DMCA notices harmed the “Zoey Ellis”
brand of books published by Quill Ink. All negative publicity concerning this matter, at
least prior to the filing of the current lawsuit, was posted by Plaintiff, not Defendant.

REQUEST FOR ADMISSION NO. 6:

 

Admit Cain defamed the “Zoey Ellis” brand of books published by Quill Ink with the

intent to harm the brand's reputation.

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RESPONSE TO REQUEST FOR ADMISSION NO. 6:

Denied. While Defendant cannot speak for Cain, the intent of Defendant in filing the
DMCA notices was to have infringing material removed from sale.

REQUEST FOR ADMISSION NO. 7:

Admit Cain defamed the “Zoey Ellis” brand of books published by Quill Ink with the
intent to destroy the brand's value.

RESPONSE TO REQUEST FOR ADMISSION NO. 7:

Denied. While Defendant cannot speak for Cain, the intent of Defendant in filing the
DMCA notices was to have infringing material removed from sale.

REQUEST FOR ADMISSION NO. 8:

Admit Cain timed the DMCA notices to cause cancellations of pre-orders for the “Zoey
Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 8:

Denied. While Defendant cannot speak for Cain, the intent of Defendant in filing the
DMCA notices was to have infringing material removed from sale. On Defendant’s part
there was no timing specifically related to any pre-order.

REQUEST FOR ADMISSION NO. 9:

Admit the Myth of Omega series (Crave to Conquer, Crave to Capture, and Crave to
Claim) is different from the Alpha’s Claim Series. (Born to be Bound, Born to be

Broken, Reborn, and Stolen).

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RESPONSE TO REQUEST FOR ADMISSION NO. 9:

Admitted with stipulations. The titles are different. Defendant has never claimed that the
titles are verbatim or identical copies of each other. However, Defendant believes that
the first two titles in Zoey Ellis’ Myth of Omega series were written using the first two
titles of Addison Cain’s Alpha’s Claim series as a template / outline and that the two sets
of two books contain dozens of specific plot points occurring in the same sequences.
REQUEST FOR ADMISSION NO. 10:

Admit Blushing Books advised Cain against filing the DMCA notices against the “Zoey
Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 10:

Admitted. Defendant encouraged Soto to consider strongly the potential consequences of
taking action against another author, whether that author was harming her or not.

REQUEST FOR ADMISSION NO. 11:

 

Admit the “Zoey Ellis” brand of books published by Quill Ink has been permanently
damaged by false accusations of plagiarism.

RESPONSE TO REQUEST FOR ADMISSION NO. 11:

Denied. Defendant never spoke publicly about accusations of plagiarism. On the
contrary, Plaintiff posted widely, including creating a public website, about the
infringement accusation. Defendant’s position is that any damage done must be laid

fully at Plaintiff's own doorstep.

REQUEST FOR ADMISSION NO. 12:

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Admit Quill Ink is entitled to recover all damages from the filing of the false DMCA
notices against the “Zoey Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 12:

Denied. Defendant believed at the time of the filing and continues to believe that Zoey
Ellis “Myth of Omega” series infringed on Addison Cain’s “Alpha’s Claim” series and
that Zoey Ellis is entitled to no damages whatsoever in this matter.

REQUEST FOR ADMISSION NO. 13:

Admit other individuals were involved with the filing of the false DMCA notices against
the “Zoey Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO. 13:

Denied. “Other individuals” is vague and meaningless. Defendant has no knowledge
whatsoever that any other individuals were involved with the filing of the DMCA notices,
other than itself and Rachelle Soto.

REQUEST FOR ADMISSION NO. 14:

Admit other individuals were involved with the filing of the false DMCA notices against
the “Zoey Ellis” brand of books published by Quill Ink.

RESPONSE TO REQUEST FOR ADMISSION NO.14:

Request is identical to No. 13.

REQUEST FOR ADMISSION NO. 15:

Admit other individuals were involved with the filing of the false DMCA notices against

the “Zoey Ellis” brand of books published by Quill Ink.

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RESPONSE TO REQUEST FOR ADMISSION NO.15:

Request is identical to No. 13.

REQUEST FOR ADMISSION NO. 16:

Admit Cain instructed you to lie about her involvement in directing the filing of the
DMCA notices against the Myth of Omega series of books.

RESPONSE TO REQUEST FOR ADMISSION NO. 16:

 

Denied with exceptions. While Soto never asked Defendant to lie about any matter,
Defendant and Soto did discuss Soto’s “hiding behind” her publisher if confronted on
social media about the DMCA filings. Subsequent to that conversation, Soto of her own
accord and volition filed at least one additional DMCA take down notice.

REQUEST FOR ADMISSION NO. 17:

Admit the purpose of the DMCA notices filed against the Myth of Omega series of books
were intended to destroy Quill Ink’s ability to market the “Zoey Ellis” brand of books.
RESPONSE TO REQUEST FOR ADMISSION NO.17:

Denied. Defendant believed at the time of the filing and continues to believe that Zoey
Ellis “Myth of Omega” series infringed on Addison Cain’s “Alpha’s Claim” series.
Defendant nevertheless never acted against Zoey Ellis and had never heard of Quill Ink.
Defendant’s initial letter to Zuri Amarcya laid out a plan for her to remove the Myth of
Omega titles from sale while maintaining her accounts on Amazon and other vendors in
good standing and retaining all income from sales of the titles to that point.

REQUEST FOR ADMISSION NO. 18:

 

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Admit you failed to disclose insurance policies you have that may provide coverage for

Quill Ink’s claims against you.

RESPONSE TO REQUEST FOR ADMISSION NO.18:

 

Denied. Defendant has no insurance policies.

REQUEST FOR ADMISSION NO. 19:

Admit you and Cain developed a plan to conceal Cain’s involvement in the filing of the
DMCA notices against the Myth of Omega series of books.

RESPONSE TO REQUEST FOR ADMISSION NO.19:

Denied. Although in April 2018, Defendant and Soto exchanged emails containing a
possible Facebook post that Soto proposed making after the “backlash” hit, and
Defendant advised Soto that she could hide behind her publisher, in a subsequent
conference call, Defendant advised Soto that she had reconsidered and that Defendant
wanted Soto to make no public statement regarding the matter, a decision which Soto
respected. Furthermore, at the time of this exchange, Soto had not, to the best of
Defendant’s knowledge, filed any DMCA notices. At no point did Defendant ever
develop a “plan” to “conceal” Soto’s involvement.

REQUEST FOR ADMISSION NO. 20:

Admit neither you nor Cain have the right to exclude anyone from writing male/female

Omegaverse stories.

RESPONSE TO REQUEST FOR ADMISSION NO.20:

 

Admitted. While Defendant cannot speak for Cain, Defendant has never attempted to

exclude anyone from writing in the m/f Omegaverse universe.

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REQUEST FOR ADMISSION NO. 21:

Admit the attacks against Quill Ink’s counsel have absolutely no relevance to the merits
of Quill Ink’s Claims against you.

RESPONSE TO REQUEST FOR ADMISSION NO.21:

Denied on multiple fronts. Defendant is not aware of any attacks against Quill Ink’s
counsel, Mr. Lincecum, has not made any attacks, and cannot understand the connection
between the alleged attacks and the merits of the claims. Nevertheless, Zuri Amarcya’s
initial counsel, Margarita Coale, has a long standing adversarial relationship both with
Soto and Defendant, predating by several years the publication of the “Zoey Ellis” titles.
Defendant believes that Ms. Coale may have reached out to Zoey Ellis specifically to
represent her with the intent of harming Defendant and Soto. Defendant believes that any
involvement of Ms. Coale in this matter taints this case.

REQUEST FOR ADMISSION NO. 22:

Admit you are responsible for all losses related to the filing of the false DMCA notices
against the "Zoey Ellis" brand of books.

RESPONSE TO REQUEST FOR ADMISSION NO.22:

Denied on multiple fronts. Based on the information Defendant was provided by Cain
and their own research, Defendant filed DMCA notices in good faith against infringing
titles. The DMCA guidelines do not require removal of infringing material during the
review process, and in fact neither Amazon nor Google ever removed the books from

sale. Furthermore, in Defendant’s experience as publishers it has been noted that

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controversy often sells books. Finally, the extremely modest loss of sales on Barnes &
Noble, Apple, and Kobo might well have been made up by increased sales on Amazon.
REQUEST FOR ADMISSION NO. 23:

Admit you persisted in filing DMCA noticed against the “Zoey Ellis” brand of books
after being informed that the DMCA notices were frivolous at best.

RESPONSE TO REQUEST FOR ADMISSION NO.23:

Denied. Defendant filed DMCA notices believing that the “Zoey Ellis” brand of books
infringed on Cain’s titles and continues to hold this belief. Defendant was never
informed by anyone that the notices were “frivolous.”

REQUEST FOR ADMISSION NO. 24:

Admit some vendors rejected the DMCA notices as meritless and refused to remove the
Zoey Ellis brand of books from sale.

RESPONSE TO REQUEST FOR ADMISSION NO.24:

Denied. No vendor rejected the DMCA notices as “meritless.” Vendors are not required
to remove books during a DMCA review. One vendor that chose not to remove the titles
said they would not do so without a finding from a copyright court. (Google Play) A
second vendor (Amazon) never responded to either Defendant’s online filed take-down
request or a mailed take down request. Defendant cannot speculate on why some vendors
removed the infringing titles and others did not.

REQUEST FOR ADMISSION NO. 25:

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Admit that Cain became angry about the response from online vendors and began making
claims of plagiarism just to force online vendors to reconsider their rejection of the

DMCA notices.

RESPONSE TO REQUEST FOR ADMISSION NO.25:

Admit with stipulations. Cain did become angry and frustrated over lack of movement on
Amazon’s part. However, “claims of plagiarism” were made from the very initial days of
the action, and were the basis of the action.

REQUEST FOR ADMISSION NO. 26:

Admit you traveled to Oklahoma for purposes of contacting and/or discussing the

DMCA notices with Draft2Digital, L.L.C.

RESPONSE TO REQUEST FOR ADMISSION NO.26:

Denied. No one affiliated with Defendant has been to Oklahoma ever and no one
affiliated with Defendant has ever communicated with Draft2Digital.

REQUEST FOR ADMISSION NO. 27:

Admit Cain contacted online vendors regarding the DMCA notices filed against the Zoey
Ellis brand of books.

RESPONSE TO REQUEST FOR ADMISSION NO.27:

Admit with stipulations. Cain informed Defendant she had filed notices with Amazon.
Whether they were “DMCA” notices or “copyright” notices is not entirely clear.
Furthermore, it is unknown by Defendant whether Cain continued any dialogue with

vendors “regarding” the notices.

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REQUEST FOR ADMISSION NO. 28:

 

Admit Cain mispresented her involvement with the filing of the DMCA notices against
the “Zoey Ellis” brand of books to the United States District Court for the Western
District of Oklahoma.

RESPONSE TO REQUEST FOR ADMISSION NO.28:

 

Admitted. Cain misrepresented her involvement.

REQUEST FOR ADMISSION NO. 29:

 

Admit you and Cain used this attack against the "Zoey Ellis" brand of books to increase
awareness of and profits relating to the sales of Cain’s Alpha Claim series.

Denied. Neither Defendant nor, to the best of its knowledge, Cain ever posted about this
matter publicly in any way until after the filing of the lawsuit in October 2018.
Defendant’s objective was to have infringing material removed from sale.

REQUEST FOR ADMISSION NO. 30:

Admit you and Cain launched campaigns to preempt and interrupt the releases of any
publications for the "Zoey Ellis" brand of books following the filing of the DMCA
notices.

RESPONSE TO REQUEST FOR ADMISSION NO.30:

 

Denied. Except as admitted above in the filing of the five DMCA notices (and the follow
up letter to Amazon) Defendant launched no “campaigns” to preempt and interrupt the

releases of the publication of any titles.

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DATED this 12" day of August, 2019.
Respectfully Submitted,

MN Up
/s/ Rebecca Briggs
Rebecca Briggs, #40626 (CO) & #91362 (VA)
(Also licensed in the Federal Western District of
Oklahoma)
Attorney for ABCD GRAPHICS AND
DESIGN/Blushing Books
The Law Office of Becky Briggs, LLC
315 Colorado Ave, Pueblo, CO 81003
Phone: (434) 989-0847 Fax: (970) 826-
7050
E-mail: beckybriggslaw@gmail.com

 

CERTIFICATE OF SERVICE

 

I hereby certify that on this 12" day of August, 2019, I mailed the attached documents by
United States Postal Service to:

Gideon A. Lincecum

Holladay & Chilton, PLLC

204 N. Robinson, Suite 1550

Oklahoma City, Oklahoma 73102 5
/s/ Rebecca Briggs,

Rebecca Briggs, #40626 (CO) & #91362 (VA)

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B/E/19 15200

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6/10/18 16:18 77 min

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8/7/19 16:14

6/3/10 16:34 33min

G/14/19 16:00 57 min

6/6/19 15:36 36 min

4/28/19 16:24 24min

4/22/19 16:66 66 min

4/22/10 14:43 43 min

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RomCon Unknown;Bethany
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O/TAT 16:36

6/6/17 20:07

BAIA? 17:30

G/30/17 21:26

34 min Bethany; Buchan; Wirntess

57min ‘Bark and Seadyctin Cathalen;Bethany;Soto; Windlass

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

28min Wireiess;Bethany;Steve

14? min l ;Buchan; Cath: yiNit Wir

174 min Bethany;Unk Unknown; Ri schan;Cathal H

128 min p L halen;Buchan;l own; i 128; Vi

128 min : Us K ick; Sitver; Bi ; Wireless, iN biltpu Aww. Ubercart
62 min Bethany;Bethany:Wiratess;Grossland;Steve

37min: Bethany;Cathalen;Soto

65 min Ur R i Nass; Unk th t ichan;U:

44min \ Bi il thalen;'

101 min \ A han; Bethany;B h hilow/www.ubercor
41 min Wireless; Wirliss

98 min \ Jen; Kindick;B. dees fi

8 min Kindick;Buchan; Unknown

52 min Bethany, Berman, Wireless

133 min Buchan;Catt Jni Unk Buchan; Wiretasn, Wi

79 min Cathalen; Wireless; Unknown; Bethany, Taurimy

71 mn Wi tt Wire! Kindick;t Br ; Wireless: Wir 4 |

43 min l Bathany,L 1: Kindick; Wiret 1; Wireless; Kindick

106 min Unk Cathal ‘Buchan, Bethany: Wi Unknown Wireless; hicholas:Wi " laa; Bathany Wir
4imn .; Wireless; Unknown; Tammy

43 min Gathalon;Wireiess;Buchan; Bethany

b5 min * Cathalen;t A Bethany;Buchan;Unk I ;Buchan

96 min Kindick;Unk c Bethany: n ‘A Wy

63min Hero 4 ;cathalen; Bethany; Wireless, A ; Maga httes.
149 min Cath i L thany;l Buchan;Nicholas; h

28min Boston Doms hai Cathalun;Bethany;Zelaya;Collins
Case 5:18-cv-00920-G Document 88-7 Filed 09/06/19 Page 37 of 44

sy2ani7t 450°
B27 1855
5/17/17. 15:00
AIQG/N7 14:47
ANON? 14:52
4/13/17 18:25
MB/IT 14:58

SAROTT 14:57
W277 20:31

YEINT 15:01

2297'15:00

B/2/17 17:00
Oy 15:58
IT 2-06
SANT 17:45
3/117 16:00
2/24/17 1604
227 21.01
a/eeit7 16:68

D2VN7 16:00

BHBNT ITA,

SNBNT 1650
2Hait7 17:00:
QANT 15:58
2/2/47 16:00
W257 15:67
WAT 14:57

WATT 14558,

 

6/24/17 17:31 161 min
6/22/17 20:09 71 min

8/7/17 17:56 | 174 min
4/26/17 17:36 168 min
49/17 17:00 127 min
4/19/17 18:49 24 min

MBIT VT
220/17 17:40! 163 min
Q27/17 21:21 49 min

9/23/17 16:33 | 82 min

9/22/17 17:41 161 min
9/21/17 17:18: 18 min

9/6/17 16:61 63min
Q/4/17 21:38 = 30 min
SAAT 19:07 +62 mn
3/11/17 17:21 6imin
2/24/17 16:10 & min
2/22/17 21:28 36 min
2/22/17 17:21 | 82 min
2/21/17 16:61 60 min
2/16/17 18:23 | 69 min
PABA FATS 7a min
2/18/17 18:24 84 min
2/6/17 17:66 117 min
2/2/17 17:41 100 min
1/26/17 18:47 170 min
ANT 16:48

110 min

JATA7 16:31 32min

135 min:

Hore Une

Weekly Meeting

 

nsUnknown: Buchan; Wireless: Wiretin bitifwwwuberoor

Cathalen;Maggie;patty

Wireless:Bathany;linkinewnhichplas:Buchan:! httey Awww wberer

fi Buchan

rownilint Elichan.t “rh Unt Bathanivel ink Lin}

Buchan;Unknown

Unknown; Bethany;Unknown

 

 

Unknown;Unknown:Bethany

Bethany, Unknown;Bathany,Bethany

t Unknow: Link A UnknowndWnknown

Unknown;Bethany
Bethany,Bethany;Unknown

Unknown Unb Link Unt Lint Unknown, Unknown:Unkniown:Unknown

 

Unknown; Bethany: Webaeir
Unknown; Unknown; Bathany
Unknown Unknown: Unknown,Unknown,Unknown: Unknowns!
Unknown;Bethany,Unknown

Ur LUnknown:Linknawnillik Enh Unt i UnknewnUnkriown
Unknewn;Unknawn:Unknown:Linkrown, Unknown, Unknown, Bethany, Unknown)

UriknewiUakni Unhinewn: Unk

Unknown; LUnknawn: Unknown JAinown; Unknown: Unkmow:Bethany:Unknown,Unknown;Unknewn, Unknown, Unikivawn

Bethany;Hannah;Uninown
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WABNT 19:45 1/18/17 20:23 37 min Bethany;Unknown;Hannah

WVAQIT 14223 | 1/19/17 14:58 35min Blushing Deals = Bathany;Hannah;Unknown;Bethany

4/42/47 18402'| 1/12/17 17:64 111mIn Weekly Meeting | Unknown; Unb \ \ ul Unknown:Uinkriownst yany:tink Linh (Une
WAZA 16:00 | 1/12/17 16:02 2min Weekly Meeting ~Unknown;patty

WANT NGHO | 174/17 17:44 105 min U t } a‘ l A known: 8 ;Unis

12/20/16 16-68 12/20/16 17:62 117 min: lL Unknown; Wiraloss;l Bi L ( Ink L L

$2116 WG 12/21/16 1-tC 71 min Wi ( rown:;t athianny,t Hl

TEA ANG 18:60 12/14/16 17:92 94 min u Unknown, Wink Un :Winetess|Unb ‘Batt Untiiown Unknown: Linknewn:Unknown:Unknown
12/7/16 16:00 | 12/7/16 18:17 137 min i /Pathary.l A iA known;

42/2/16:19-00 | 12/2/16 19:19 18 min 4 Bathany/Unk Unine

12/2/16 16:16 | 12/2/16 18:49 33 min Unknown;Unknown;Bethany

14/30/16 15260 11/30/16 18:20 142 min | U H Unknown;U i

TN/23/16 16:57 11/22/16 16:66 68min Prod Yobone | Unk Us ( ( t (

11/16/16 15:59 11/16/16 18:12 132 min ' Combined Meetir t , J tL Beth , Unknown

VIMGMG 15:60 11/10/16 17:26 80min! UninowjUir (nh u leh Unt Unt \ Bathany

19/0/16 15:59 | 11/0/16 18:26 146 min Unk ( t ;Unk ‘ 4 Ink ul Unk

41/2/16 14:57 | 11/2/16 16:80 92 min i l Unk ( Unk t ! l ’

VOASTNG 17200 10/31/16 17:36 35 min Unknown;Bethany;Eelynne

4O/2TNG 170K) 10/27/16 18:1€ 76 min Ur ( Ink Bletharyst

VORBE 16:88 10/26/16 18:16 78min Production nisatir Unknown;Uninownit Jn L l l Unknown

ADMANHG 16:58 10/20/16 19:21 81 min Unknown;Ur t ( ( Unk L

10/16 16:58 10/19/16 18:16 79min —_ Production Meetir Uni Unkriwn: Ui ( Uniknowri:Biathaniy|Link Uh j ‘ (
103/16 16:54 10/19/16 17-6563 min Ralease l Cl l ( C ‘Unknown

10/12/16 16:58 10/12/16 18:22 84 min ~—_ Production Meatlr Ui L ( L ;Unk L ;

4O/B/16 14:07. | 10/6/16 16:34 147 min uu j Unknowns Bethany.Unb Hynnospatty, Unk Unk Un} Leh
10/46 14:57 | 10/4/16 16:38 41 min Unknown; Unknown;Unknown;Unknown

S/ZBNG 16:59 | 9/26/16 18:33 88min C weekly | Unt Unk { ’ l atty

22/16 17:00 | 0/22/16 18:64 114 min Combined mestin t ;Unk iA L L Bethany; l

 
Case 5:18-cv-00920-G Document 88-7

29/16 17001
9/20/16 16:68
S/ISNG 16:50
0/8/18 16:59

TMG 16:50

O/1/18 16:59

a/28/16 17:00
8/24/16 16:87
aBh6 20:00
8/18/16 16:58
a/i7/iG 16:80
ai5/t6 18:50
ANOG 16-58
B/G 16:37

T2816 16:50
T2716 16:59"
TANG 1655
7/20/16 16:58
THNAII6 17:00
TAQNB 16:57
TABAG 14:58.
TAV/6 16:00
TTING 18:00

TEI AGES

TANG ASST

B/20/16 14:59
6/23/16 20.00

6/02/16 16:58:

 

9/21/46 17:04 3 min
SOONG {822 84 min
9/15/16 18:20 80 min
9/8/16 13:36 97mm
9/77/16 19:07 128 mn
BAG 18:38 100 min
8/26/16 18:28 89 min
G24/16 18:62 116 min
0/19/16 20:65 64min
4/18/16 18:08 69 min
87/16 18:26 86 min
8/16/16 20:36 96 min
8/10/16 18:46 106 min
8/74/16 19:00 123 min
7/20/18 18:24 84min
7127/16 18:64 116 min
7/21/16 18:11 78min
70/16 18:44 106 min
TA4N6 18:16 75 min
7/13/16 18:47 108 min
TAZA 16:63 66 min
TANAG 16:29 28 min
THHG6 16:47 46min
THANG 18:31

86 min

7/1/16 14:40:43 min

6/20/16 18:40) 110 min |

6/23/16 20:27 27 min

6/28/16 18:08 70 min

Filed 09/06/19 Page 39 of 44

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Eslynne;Unknown
Eslynne;Bethany;Unknown
Release II A 1 , Eat t
Raleaso ing | Beth 1own;Unkr lL J lL Ui 1
Production Meatir L Jr} ( Lin :Unknown:Unkngwn;Unknown;Bathany; Linknown; Unknown, Unknown Uinknawn;!
{ t ) "| l a 1
Unk sl iV 11 i a1 ‘i.
Unt Unt Un Unknown Ent \ Unt Unt Unk 4 u vl
Uninown; Bethany, Ealynne
Refaase Meeting Unk LL tt Unk Unk it
Production Meatir | i ‘Uni wil A L if Esty
Bethany,;Unknown;Unknown;Eslynne;Unknown
Unt 4 tl , tl Ditpo/www.uberror
P and Fl if A J Unk sBothany; 5
i Unk “Ur 0 i # vil snk i
u 1 Unt A 1
l Ink st hany:\ i
F Meetii Esly Unk ‘ Unk A Unknown
Aslease ing Unk L Bethany:;Unknown;Unk

 

Unknown Unknown, Unknown. Linknown|Bathany

Blushing Books’ s Unknown;Bethany;Uninown;Unknown; Unknown

Military Box Set LL hany;|
1 Y
Bethany; Unknown;Unknown

Unhinowe, Unknown, Bethany Unknown ;UAknown, Unknown

10
Case 5:18-cv-00920-G Document 88-7 Filed 09/06/19 Page 40 of 44

6/22/16 17:00
61616 16:50
6/14/16 18:41,
G/9/16 16:56
OO/16 16:44
6/2/16 16:57
6/1/16 1645
B/26/16 16-57
Beste Y0us
G/24/16 21:16
6/19/16 16-58
5/49/16 16:13
S/S 18:28
5/4/16 15:18
A/2i (6 15:26
A/2T/1G 15:14
4/2116 14:58)
4/20/16 18:42
4/20/16 15:30
a/20/16. 18:16
4/7/16 15558
416116 16:20
4/6/16 15:20
A/8/16 15:15
4/31/16 19:01
nai 18:52
S/20/16.14:29

M2a/i6 1404

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6/22/16 18:20 6Omin = Production Unk l Unk yiUnk Ealy l lt Unk ;Unknown
@16/16 18:33 103 min Unk J Unik Bathiany;t L

6/14/16 19:16 34 min Bethany; patty; Unknown;Unknown;Unknown

6/0/16 18:16 78min: Relnose g Unk lL 1.Unknown

6/8/16 18:11 147 mIn Bethany's Unt Eely Unk it ;Bathany;patty;|

6/2/16 18:33 96min Release hi \ t t tt L Nth,
6/1/1618:11 86min Bethany's t L Unk ry

6/26/16 18:23 86min Aslease ing U | ; L iy Hite ubsrcoe
6/26/16 18:41 117 min ‘a \ ) L tS il \

6/24/16 21:49 34 min Unknown;Unknown;Unknown; Bethany

6/19/18 17:62 64min = Rsilesse l Ur ‘ B Unt

6/18/16 1702 108 min \ A Ll (

G/EN6 14:58 80min M ing MMzatiny | Bethany;l

6/4/16 17:27 133 min Bethany's Esly J A l hite www. ubercor
4/28/16 16:41 72min Aelense g U Unt 1 ‘Unk ¥

4/27/16 17:04 110 min Bethany's Meetin U: Unk Unis Beth Eshy ul t vil

4/21/18.17:21 143 min | Production and M L Unk A if hits! wewwoularcot
4/20/16 16:69 17 min Bethany, Unknown

4/20/16 16:40 9 min Unknown;Unknown

4/20/16 16:26 & min Unknown;Unknown;Unknown; Unknown

4f7A6A71 72min = Release Patty; Jnt 3 Patty: L hit: fw ubercor
4/6/16 18:60 141 min Store Eslynne;Betiany:t

4/6/16 16:40 11min Unknown;Unknown;Unknown hittpefwwiw.ubercer
4/6/16 16:28 13min Unknown;Unknown;Unknown;Unknown Hitte//yeww, ubermor
9/31/16 14:00 58 min Unimown;Unknown;Uniciown

20/16 16:33 40 min Bethany;Uninown;Unknown

3/29/16 17:35 186 min Store Meet \ Ui Un 1 Ll

9/24/16 16:06 90 min Esk l ry Ll L Jnk Ur

 

 

 

11
Case 5:18-cv-00920-G Document 88-7 Filed 09/06/19 Page 41 of 44

20/16 14:30

S/7/16 15:58

W716 14:58

AN6NG 1515

Di016 16:44
“BA/16 15:29
W76 1:57
ava/16 15:86
NG 18:31
S216 3:04
1/16 16:30:

BR 16 025.

2/28/16 17:59

2/256 16:44
24 124
2236 16-27
28/16 16:69
2ATNG 140
QNGAB 16:12
22/6 10:57
2G 15:15,

B/G 20-29
2/4/16 17:50

24/16 1559

22/16 15:33:

1/20/16 17245
RBG 16-29

24/96 17:59

 

9729/18 16:62 132 min

WI7NE 16:32 33 min

QI7/N6 16:64 55min : Seles Mi

4/16/16 16:52 96 min

Q/10/16 16:63 88 min

WONG 17:12 103 min

87/16 16:26 28min

9/3/1817:00 73 min

3/2/16 18:11 » 40min

3/2H183:11 min

9/1/16 17:08 88min

2/26/16 1:60 83mn

2/26/18 18:03 63 min

2/26/16 18:06 21 min

2/24/16 2:23 6B min

2/23/16 16:67 80 min

2/18/16 17:20 80 min

2A7AN6 16:44 64min

2/16/16 17:46 152 min

2/12/16 21:08 71 min

2/9/16 17:08 = 119 min

2/4/16 20:66 26 min

2/4/16 18:08 10 min

2161760 110min

2/2H6 17:45 132 min

1/28/16 19:08 62 min

V26/N6 17:44 134 min

V21410 19:09 70 min

 

 

 

 

 

 

 

Bethany;Eslynne;Unknown

Audio Book Prot Annia-Anria (HBIC),Unknown;Bethany

 

 

 

 

 

 

 

 

 

Unknown;Bethany;Unknown

 

 

 

 

 

 

Unknown; Unknown; Unknown;Unknown; Bethany

Unknown;804-830-1462;Unknown

 

htte/wiwy. ubercor
sawson
|Unknown; Lawson
Unk 1;Unknown
(Urb (Unknown, Link ‘Lowsen, Unknown: Unknown
1own
‘Unt ‘Laweon

 
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PnL2018preliminary

ABCD Graphics and Design Inc

Ordinary Income/Expense

Income

BH Publishing 74,168.24
Blushing Publishing

Audio Income 2,512.00

Blushing Books 857,470.64

Kobo 17,089.92

Radish _ 11,610.64
Total Blushing Publishing 888,683.20
Blushing Websites

Bethany/Romance 875.80

Total Blushing Websites 875.80
CF Publications 485,746.40

Total Income 1,449,473.64

Cost of Goods Sold

Audiobook Production 3,600.00
Author Payments

Advances 85,952.04

Publisher Partner 3,823.36

Royalties - Quarterly Payments 560,887.60
Total Author Paymenis 650,663.00
Book Printing 125.08
Content Formatting/Design/Mgmt. 20,799.84
Editing 46,200.00
Merchant Account Fees

Chargeback Fee 399.60

fees paypal 491.88

Humboldt 3,077.56

Moneris 1,013.60

Netbilling 2,344.32

Merchant Account Fees - Other 120.00
Total Merchant Account Fees 7,446.96
Stock Images and Fonts 894.36
Website Content

Work For Hire Content 43,600.00
Total Website Content 43,600.00
Website Management Fees

BB Blog 17,333.20

HerWoodshed 9,008.56

Total Website Management Fees 26,341.76
Total COGS 799,671.00
Gross Profit 649,802.64

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PnL2018preliminary

Expense

Accounting Professional Fees 6,652.00
Advertising and Promotion

Mailing List 1,600.00

Marketing 749.72

Advertising and Promotion - Other 5,179.96
Total Advertising and Promotion 7,529.68
Automobile Expense 118.00
Bank Service Charges

Adjustment -1.20

International Fees 25.80

Monthly fee 180.00

Wire Transfer Fee 660.00
Total Bank Service Charges 864.60
Conference

Conference - RT - registration 3,720.00
Total Conference 3,720.00
Conference - Blushing at RT 3,660.00
Conference - RomCon

RomCon Management 6,500.00

Conference - RomCon - Other 1,300.00
Total Conference - RomCon 7,800.00
Contractors 184,994.80
Customer Service 14,400.00
Donation 484.00
Dues and Subscriptions 200.00
Educational Expenses 1,165.96
Gifts 566.28
Hosting

Google Mail Fee 440.00

Servers _ 2,768.12
Total Hosting 3,208.12
Insurance Medical 5,304.00
Internet Access 3,314.36
Marketing Consultant 34,666.52
Meals and Entertainment 2,721.24
Misc Exp 259.36
Office Expense 6,504.48
Office Supplies 1,614.96
Payroll - Officer 36,000.00
Payroll - Regular 115,320.08
Payroll - Taxes - Federal 45,960.80
Payroll - Taxes - State - VA 212.52
Payroll Fees 3,536.00
Postage and Delivery 179.28
Production Management 34,666.56
Professional Fees

Consult Fee 7,600.00

Legal Fees 27,993.68

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Alert to business entities regarding mailings from VIRGINIA COUNCIL FOR CORPORATIONS or U.S. BUSINESS SERVICES is avallable from the Bulletin Archive link of
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Certificate Verification
FAQs

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Give Us Feedback

 

 

> > Entity Details

SCC eFile

Business Entity Details

ABCD Graphics and Design, Inc.

General

SCC ID: 07418064

Entity Type: Corporation

Jurisdiction of Formation: VA

Date of Formation/Registration: 9/19/2011
Status: Active

Shares Authorized: 100

Principal Office

977 SEMINOLE TRAIL #233
CHARLOTTESVILLE VA22903

Registered Agent/Registered Office

ANNE BRIGGS WILLS

977 SEMINOLE TRAIL

#233

CHARLOTTESVILLE VA 22901
ALBEMARLE COUNTY 101
Status: Active

Effective Date: 6/23/2016

Screen ID: e1000

Need additional infarrnation? Contact

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File a registered agent change

 
      

 

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Website questions? Contact:

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